Case 3:21-cr-00048-TJC-PDB Document 434 Filed 02/08/23 Page 1 of 6 PageID 2592

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION
UNITED STATES OF AMERICA Case Number: 3:21-cr-48(S1)-TJC-PDB
Vv USM Number: 39584-509
KIMBERLY MICHELLE CLARIDY WALKER Dale C. Carson, Retained

Jessica Megan Goldsborough, Retained
444 East Duval Street

Suite 3rd Floor

Jacksonville, FL 32202

 

JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to Counts One and Four of the Superseding Indictment. The defendant is adjudicated guilty
of these offenses:

. : Date Offense Count
Title & Section Nature of Offense Concluded Number(s)
21 U.S.C. §§ 841(a)(1), Conspiracy to Distribute and Possess with April 2021 One
841(b)(1)(C) and 846 Intent to Distribute a-Pyrrolidinopentiophenone

(alpha-PVP) and MDMA
18 U.S.C. §§ 1956(h) and Conspiracy to Commit Money Laundering April 2021 Four

1956(a)(1)(B)

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

Original indictment and all other counts of the Superseding Indictment, as to this defendant, dismissed on the motion of the
United States.

IT IS ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are

fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes
in economic circumstances.

Date of Imposition of Sentence:

January 31, 2023

Toma ff

TIMOTHY J. CORRIGAN
UNITED STATES DISTRICT JUDGE

February 7 , 2023

AQ245B (Rev. 09/19) Judgment in a Criminal Case
Case 3:21-cr-00048-TJC-PDB Document 434 Filed 02/08/23 Page 2 of 6 PagelD 258ae2 f6

Kimberly Michelle Claridy Walker
3:21-cr-48-TJC-PDB

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a term of
TWO HUNDRED FORTY (240) MONTHS as to Count 1, SIXTY (60) MONTHS as to Count 4, to run consecutively for
a total term of THREE HUNDRED (300) MONTHS.

The Court makes the following recommendations to the Bureau of Prisons:

RESOLVE program

Mental health/trauma counselling

RDAP

Any educational/vocational programming available

A facility as close as possible to Jacksonville, Florida or Lake City, Florida, consistent with the
programming recommended.

The defendant is remanded to the custody of the United States Marshal.

 

 

 

 

 

 

 

RETURN
| have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By:

 

Deputy United States Marshal

AO245B (Rev. 09/19) Judgment in a Criminal Case
Case 3:21-cr-00048-TJC-PDB Document 434 Filed 02/08/23 Page 3 of 6 PagelID 259age 3 of 6

Kimberly Michelle Claridy Walker
3:21-cr-48-TJC-PDB

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of THREE (3) YEARS as to Count
One, THREE (3) YEARS as to Count Four, to run concurrently for a total term of THREE (3) YEARS.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

You must not unlawfully possess a controlled substance.

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15
days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
4. You must cooperate in the collection of DNA as directed by the probation officer.

wONn>=

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on
the attached page.

AOQ245B (Rev. 09/19) Judgment in a Criminal Case
Case 3:21-cr-00048-TJC-PDB Document 434 Filed 02/08/23 Page 4 of 6 PagelD 25gape 4 of6

Kimberly Michelle Claridy Walker
3:21-cr-48-TJC-PDB

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72
hours of your release from imprisonment, unless the probation officer instructs you to report to a different probation
office or within a different time frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer
about how and when you must report to the probation officer, and you must report to the probation officer as
instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting

permission from the court or the probation officer.

You must answer truthfully the questions asked by your probation officer

You must live at a place approved by the probation officer. If you plan to change where you live or anything about

your living arrangements (such as the people you live with), you must notify the probation officer at least 10 days

before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances,
you must notify the probation officer within 72 hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
excuses you from doing so. If you do not have full-time employment you must try to find full-time employment,
unless the probation officer excuses you from doing so. !f you plan to change where you work or anything about
your work (such as your position or your job responsibilities), you must notify the probation officer at least 10 days
before the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
the permission of the probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon
(i.e., anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to
another person such as nunchucks or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation
officer may require you to notify the person about the risk and you must comply with that instruction. The probation
officer may contact the person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

ok

U.S. Probation Office Use Only

AUS. probation officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. For further information regarding these conditions, see Overview of
Probation and Supervised Release Conditions, available at: www.uscourts.gov.

Defendant's Signature: Date:

 

AQ245B (Rev. 09/19) Judgment in a Criminal Case
Case 3:21-cr-00048-TJC-PDB Document 434 Filed 02/08/23 Page 5 of 6 PagelD 258@e 5 of6

Kimberly Michelle Ciaridy Walker
3:21-cr-48-TJC-PDB

ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

1. You shall participate in a substance abuse program (outpatient and/or inpatient) and follow the probation officer’s
instructions regarding the implementation of this court directive. Further, you shall contribute to the costs of these
services not to exceed an amount determined reasonable by the Probation Office's Sliding Scale for Substance
Abuse Treatment Services. During and upon the completion of this program, you are directed to submit to random
drug testing.

2. You shall participate in a mental health/trauma treatment program (outpatient and/or inpatient) and follow the
probation officer’s instructions regarding the implementation of this court directive. Further, you shall contribute to
the costs of these services not to exceed an amount determined reasonable by the Probation Office's Sliding Scale
for Mental Health Treatment Services.

3. You shall provide the probation officer access to any requested financial information.

4. You shall submit to a search of your person, residence, place of business, any storage units under your control, or
vehicle, conducted by the United States Probation Officer at a reasonable time and ina reasonable manner, based
upon reasonable suspicion of contraband or evidence of a violation of a condition of release. You shall inform any
other residents that the premises may be subject to a search pursuant to this condition. Failure to submit to a
search may be grounds for revocation.

AQ245B (Rev. 09/19) Judgment in a Criminal Case
Case 3:21-cr-00048-TJC-PDB Document 434 Filed 02/08/23 Page 6 of 6 PagelD 259% 6 f6

Kimberly Michelle Claridy Walker
3:21-cr-48-TJC-PDB

CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth
in the Schedule of Payments.

AVAA JVTA

Assessment 1 2
Assessment Assessment

Fine Restitution

TOTALS $200.00

SCHEDULE OF PAYMENTS
The Special Assessment in the amount of $200.00 is due in full and immediately.
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:
Unless the court has expressly ordered otherwise, if this judgment imposes a period of imprisonment, payment of criminal
monetary penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court, unless

otherwise directed by the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

FORFEITURE
The defendant shall forfeit the defendant's interest in the following property to the United States.
e Preliminary Order of Forfeiture (Doc. 372) filed on 9/15/2022.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)

AVAA assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and
(10) costs, including cost of prosecution and court costs.

 

‘ Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
2 Justice for Victims of Trafficking Act of 2015, Pub. L. No, 114-22.
AQ245B (Rev. 09/19) Judgment in a Criminal Case
